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AO 442 (Rev. 11111) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                            for the

                                                              Western District of Pennsylvania


                   United States of America
                               v.                                             )
                                                                              )         Case No.    25-624
                                                                              )
                       SHAWN MONPER                                           )
                                                                                          [UNDER SEAL]
                                                                              )
                                                                              )
                             Defendant


                                                               ARREST WARRANT
To:       Any authorized     law enforcement        officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary                                            delay
(name of person to be arrested)      SHAWN MONPER
who is accused of an offense or violation based on the following document filed with the court:

o Indictment         o Superseding Indictment    o Information       o Superseding Information                                           ~ Complaint
o Probation Violation Petition     o Supervised Release Violation Petition    o Violation Notice                                         0 Order of the Court

This offense is briefly described as follows:

  Counts One through Four: Influencing, Impeding or Retaliating against a Federal Official and a Federal Law Enforcement
  Officer, in violation of Title 18, United States Code, Section 115(a)(1 )(B).




Date:         04/09/2025
                                                                                                      Issuing officer's signature

City and state:       Pittsburgh,    Pennsylvania                                     Honorable Christo     her B. Brown, US Ma
                                                                                                          Printed name and litle


                                                                          Return

           This warrant was received on (date)           O'f/t,,/Z~Z.s            , and the person was arrested on (date)                    fo'lz~ZS'
                                                                                                                                         () 'I
at (city and slate)     Btl nEg, ell

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